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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON AT SEATTLE

VENICE Pl, LLC,

Plai.ntiff,
1 v.
SEAN O’LEARY .IR., et al.

Defeud ants.

 

VENICE PI, LLC,
Piaintiff,
v,
JONATHAN DUTCZAK, et al

Defendants.

 

VENICE PI, LLC,
Plaintiff,
v,
MARTIN RAWLS, et al.

Defendants‘

 

VENICE PI, LLC,
Plailltiff,
V.
I`NA SICOTORSCHI, et al.

Defendan.ts.

 

 

Civil Acti<)n NO. 17~0\/-988"§&`>2

Civil Action NO. 17~cv-99OTSZ

Civil Action No. 1?-CV-991TSZ

Civil Action No. 17-cV-1074TSZ

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VENICE PL LLC’ Civu Acti@n NO. 1_7-@v-1075TSZ

 

Plaintiff,
V.
GRBGORY SCOTT, et al.
D@fendants.
VENICE PI» LLC> Civil A@ti<m N@. 17-@v~1076TSz
Plaimiff,

V.

YELENA TKACHENKO, et al.
Defendants.

 

VENICE Pl> LLC» Civi; Acti@n NO. 17-@\/-1160"1‘32
Plaimiff,
V.

CELINA POTTER, et ai.

 

 

Defendants.

VENICE PL LLC’ Civil Acri@n NO, 17-@v~1163'rsz
Pl&imiff,

V.

TONJA LAIBLE, er al.
Dei"endants.

VENICE Pl» LLC= civil Acuon NO. 1?_@\/~1164"1"3;§
Plaintiff,

V.

VICTOR TADURAN, et aln
Defendzmts.

 

VENICE PI> LLCS own A@tion NO. 17-@\/-121 lTSZ
Plaintiff,
V.
JESSE COOPER, et 31

Defendants,

 

 

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VENICE PL LLC= civil marin N@. 17~av_1219rsz
Plaintiff,
v.
.lASl\/HNE PATTERSON, et al,
Defendants.
VENICE PL LLC» oral Acaon N@. i':~cv_iaos'rsz
Plaintir`f,
v.
DAVID MEINERT, et al.
Det`entlants.

 

 

DECLARATIGN ()F MICHAEL WICKSTROM
Under penalty of perjury, l, l\/IICHAEL WICKSTROM, hereby state as follows:

l. l am Senior Viee President of R.oyalties Jfor Voltage Pietures, a producer of the
motion picture Orice Upon o lime irc Venice. l personally oversee the royalties and licensing of
the motion picture GF/zce Upon a Tz`me in Vanice for Veniee Pl, LLC and Voltage Pietures,

2. All matters in this declaration are submitted through personal knowledge and
belief

About Once Upoiz tr Tr'me in Venice & `Veniee PI, LLC

2. Veniee Pl, LLC is a special purpose entity (“SPE”) formed in 2015 to develop
anal produce the motion picture Oace Upon a Tz`me in Veniee (hereinafter referred to as “l\/lotion
Pieture”), Whioh Was released in ZUl'i', Plainti;t`;l" Veniee Pl, LLC is a California limited liability
company with principal offices in Los Angeles, California earl an affiliate of Voltage Pictures, a
production company With a notable catalog of major awar<l.~Win.ning motion pictures
(WWW.voltaaeoiotures.coin).

3. Once Uporz a Time in V'em'ce is an action oomedy movie starling Bruoe Willis,
lohn Goodman and lason l\/lomoa, among others ln the l\/lotion Pietnre, Bruee Willis plays the

character Steve Ford, Who is an L,A. based Private lnvestigator whose professional and personal

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Worlds collide after his pet dog, Buddy, is stolen by a notorious gang. Steve For'd eventually
finds himself doing the gang’s bidding in order to retrieve Buddy,

4. 'l`he l\/lotion Picture is easily discernible as a professional Worl< as it Was created
using professional performers, directors, cinematographers, lighting technicians, set designers
and editors and With professional~grade cameras, lighting and editing equipment lt has

significant value and has been created, produced and lawfully distributed at considerable

expense
Himl_w_f£ir._asr
5. As a part of my duties for Voltage Pictures, l oversee the and-piracy efforts of its

affiliated SPB’s and the effects on motion pictures produced by Voltage Pictures, including the
licensing, royalties and antipiracy efforts of Venice Pl, Ll,C.

6. Ffhe impact and harm caused by piracy are difficult to quantify This is because it
requires assumptions to be made about those infringers Who Would have purchased an authorized
copy of a Worl: had an unauthorized copy not been made available on BitToi'i'ent. Although
difficult to quantify, it is Well known that piracy costs the motion picture industry billions of
dollars every year.

7. Although my background Was originally in the music industry, l left the music
industry because of l\lapster and the vvides_pread piracy in that industry There Were intense
layoffs at Warner, Universal and other companies because profits Were being eroded and many
cf those companies did not have theme parks and other revenue streams to offset the enormous
losses caused by piracy.

8. Prior to the last decade or so, the lnternet Was slower and piracy primarily
impacted the music industry because music files Were smaller and easier and faster to obtain At

that time, motion pictures digital files Were still too large to be easily pirated.

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9. Novv, With faster Internet speeds and Bit"l`orrent, l am seeing a parallel vvith the
larger motion picture files We are Watching our margins get squeezed as expenses continue to
rise, and yet piracy continues to undercut our revenues

lO, Much of the motion picture industry now relies on video on demand for revenue
However, even this revenue stream is greatly impacted by piracy, perhaps even more than the
theatrical revenues

llq Due to piracy, We have seen 30-40% drops in revenues from video on demand

Anti~Piracy Efforts

l§l. Often a title is provided to a distributor With minimum guarantees But When the
title is pirated, many distributors respond With a demand for reduction in the minimum
guarantee, or some other assurance that Venice Pl, LLC is fighting the piracy, such as the
transmission of DMCA notices to luternet Service Providers and, When necessary,
commencement of litigation against infringers Sirnply put, to support our distributors and our
agreements With them, We must fight piracy and vve must be proactive,

l3. l\leither Venice Pi, LLC nor Voltage Pictures seek to use the Court system to
profit from infringement Revenues from our licensing and distribution agreements are the
dominant driver of Voltage’s revenues As such, our anti-piracy efforts are n_Q_t a revenue model
The main goal of our anti-piracy effort is to provide education about the harmful effects of piracy
in the movie industry and to deter copyright infringers lndeed, vve currently send out hundreds
of thousands of DMCA notices to infringers before filing suit and prefer to stop piracy outside of
litigation

ld. When litigation is necessary, We may decide not to pursue a claim based on
specific circumstances for example, if We learn that a Defendant is on active duty in the military
or if the Defendant is facing notable financial hardships, We Will talre that into consideration

vvhen reviewing options for settlement, particularly as relating to costs, fees and damages, in

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addition to nonfinancial requirements such as an injunction or agreement not to infringe This is
because our intention is not to cause financial hardship on any Defendant.

lS. On the other hand, because there is an economic cost to infringement and the law
provides for recovery, where appropriate we pursue settlements what may include reasonable
statutory damages as well as reimbursement for some or all of the costs and attorney’s fees we
have expended in our enforcement effort, as may be allowed by law. Again, whether and the
extent that a financial recovery is sought is dependent on a number of factorsj such as those
described above.

l6. Additionally, we have no interest in accepting financial settlements from innocent
individuals To that end, we have instructed our legal team to dismiss cases when provided with
credible information that it is not possible to confirm the identification of the responsible party,
particularly after there has been a reasonable opportunity for either discovery, as provided by
applicable court rules.

l’?'. We want the courts to know that we need the law to be enforced to ensure the
survival of our business lt is our hope that by upholding the law, courts will allow all creative
people the ability to make a living through the authorized distribution of the works through
legitimate channels "fo support the creative team, we implemented the policy that any net
compensation received from our anti~piracy program flows into the royalty “waterfall” and gets
distributed to those who worked on the motion picture "i`his often includes technicians, general
services, actors, directors and others in the same manner as ticket sales or other systems

lS. Contrary to the allegations of defendants in similar actions, we are definitely
prepared to take cases to trial, such as the anticipated trial in Cleor Skr`cs Nevocta, LLC v. Katau,
D, Or. 3:16-cv»Gllll-AC, where we have already prevailed over defense counsel’s opposition in

a motion for partial summary judgment on liability and willfulness

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19. I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct

DATED; November 2 7, 2017.

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BHMtrom

